                                                            FILED: December 26, 2019


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

                No. 19-4645 (L), US v. Montez Allen
                                 4:18-cr-00012-MFU-RSB-4

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                               NOTICE OF JUDGMENT
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  Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
  advised of the following time periods:

  PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for
  certiorari must be filed in the United States Supreme Court within 90 days of this
  court's entry of judgment. The time does not run from issuance of the mandate. If a
  petition for panel or en banc rehearing is timely filed, the time runs from denial of
  that petition. Review on writ of certiorari is not a matter of right, but of judicial
  discretion, and will be granted only for compelling reasons.
  (www.supremecourt.gov)

  VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED
  COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
  denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
  60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is
  being made from CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher
  through the CJA eVoucher system. In cases not covered by the Criminal Justice
  Act, counsel should submit the Assigned Counsel Voucher to the clerk's office for
  payment from the Attorney Admission Fund. An Assigned Counsel Voucher will
  be sent to counsel shortly after entry of judgment. Forms and instructions are also
  available on the court's web site, www.ca4.uscourts.gov, or from the clerk's office.

  BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
  costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
  39, Loc. R. 39(b)).




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  PETITION FOR REHEARING AND PETITION FOR REHEARING EN
  BANC: A petition for rehearing must be filed within 14 calendar days after entry of
  judgment, except that in civil cases in which the United States or its officer or
  agency is a party, the petition must be filed within 45 days after entry of judgment.
  A petition for rehearing en banc must be filed within the same time limits and in the
  same document as the petition for rehearing and must be clearly identified in the
  title. The only grounds for an extension of time to file a petition for rehearing are
  the death or serious illness of counsel or a family member (or of a party or family
  member in pro se cases) or an extraordinary circumstance wholly beyond the
  control of counsel or a party proceeding without counsel.

  Each case number to which the petition applies must be listed on the petition and
  included in the docket entry to identify the cases to which the petition applies. A
  timely filed petition for rehearing or petition for rehearing en banc stays the
  mandate and tolls the running of time for filing a petition for writ of certiorari. In
  consolidated criminal appeals, the filing of a petition for rehearing does not stay the
  mandate as to co-defendants not joining in the petition for rehearing. In
  consolidated civil appeals arising from the same civil action, the court's mandate
  will issue at the same time in all appeals.

  A petition for rehearing must contain an introduction stating that, in counsel's
  judgment, one or more of the following situations exist: (1) a material factual or
  legal matter was overlooked; (2) a change in the law occurred after submission of
  the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
  Supreme Court, this court, or another court of appeals, and the conflict was not
  addressed; or (4) the case involves one or more questions of exceptional
  importance. A petition for rehearing, with or without a petition for rehearing en
  banc, may not exceed 3900 words if prepared by computer and may not exceed 15
  pages if handwritten or prepared on a typewriter. Copies are not required unless
  requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

  MANDATE: In original proceedings before this court, there is no mandate. Unless
  the court shortens or extends the time, in all other cases, the mandate issues 7 days
  after the expiration of the time for filing a petition for rehearing. A timely petition
  for rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
  issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
  days later. A motion to stay the mandate will ordinarily be denied, unless the
  motion presents a substantial question or otherwise sets forth good or probable
  cause for a stay. (FRAP 41, Loc. R. 41).



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                                                     FILED: December 26, 2019


                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

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                                     No. 19-4645
                            (4:18-cr-00012-MFU-RSB-4)
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  UNITED STATES OF AMERICA

              Plaintiff - Appellee

  v.

  MONTEZ LAMAR ALLEN, a/k/a Doc Milla

              Defendant - Appellant

                               ___________________

                                     No. 19-4646
                            (4:18-cr-00012-MFU-RSB-5)
                               ___________________

  UNITED STATES OF AMERICA

              Plaintiff - Appellee

  v.

  JAVONTAY JACQUIS HOLLAND, a/k/a Tay, a/k/a Reckless

              Defendant – Appellant




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                                  JUDGMENT
                                ___________________

        In accordance with the decision of this court, these appeals are dismissed.

        This judgment shall take effect upon issuance of this court's mandate in

  accordance with Fed. R. App. P. 41.

                                         /s/ PATRICIA S. CONNOR, CLERK




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